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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

       Plaintiff,
                                                Case No. 10-20568
 v.
                                                Hon. John Corbett O’Meara

 D-1 SAMSON WRIGHT and
 D-2 CALVIN RAYMOND JONES,

      Defendants.
 ___________________________________/

              ORDER GRANTING MOTIONS FOR SEVERANCE

       Before the court are Defendants’ Samson Wright and Calvin Raymond

 Jones’s motions for severance. The government has responded that it does not

 oppose the request and leaves the decision to the court’s discretion.

       Wright and Jones have been charged with arson. Wright pleaded guilty;

 Jones was convicted by a jury. After both appealed to the Sixth Circuit, the matter

 was remanded for a new trial for Jones and the court permitted Wright to withdraw

 his guilty plea. Both Wright and Jones have moved for separate trials.

       Rule 8(b) of the Federal Rules of Criminal Procedure permits the

 government to charge two or more defendants in an indictment "if they are alleged

 to have participated in the same act or transaction, or in the same series of acts or
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 transactions constituting an offense or offenses." Rule 14, however, permits relief

 from prejudicial joinder as follows:

              If the joinder of offenses and defendants in an
              indictment, an information, or a consolidation for trial
              appears to prejudice a defendant or the government, the
              court may order separate trials of counts, sever the
              defendants’ trials, or provide any other relief that justice
              requires.

       The United States Supreme Court has advised that “a district court should

 grant a severance under Rule 14 only if there is a serious risk that a joint trial

 would compromise a specific trial right of one of the defendants, or prevent the

 jury from making a reliable judgment about guilt or innocence.” Zafiro v. United

 States, 506 U.S. 534, 539 (1993).

       In this case, Jones intends to present a duress defense – that he only

 participated in the arson because of his fear of Wright. Specifically, Jones intends

 to present evidence of prior assaults by Wright and of Wright’s reputation for

 violence, which the Sixth Circuit has held is admissible in Jones’s case. United

 States v. Jones, 554 Fed. Appx. 460, 470 (6th Cir. 2014). Such “impermissible and

 highly inflammatory evidence of his bad character” would not be admissible

 against Wright if he were tried alone and would be unfairly prejudicial. See United

 States v. Breinig, 70 F.3d 850, 853 (6th Cir. 1995). Accordingly, under these

 circumstances, the court finds that severance is appropriate.

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       THEREFORE, IT IS HEREBY ORDERED that Defendants’ motions for

 severance (Docket Nos. 139 and 141) are GRANTED.



                                      s/John Corbett O’Meara
                                      United States District Judge
 Date: July 3, 2014




       I hereby certify that a copy of the foregoing document was served upon
 counsel of record on this date, July 3, 2014, using the ECF system.


                                      s/William Barkholz
                                      Case Manager




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